
PER CURIAM:
This claim was submitted to the Court for decision upon a Memorandum of Understanding entered into by claimant and respondent wherein the facts and circumstances of the claim were agreed to as follows:
1. Claimant provided telecommunications services to various State agencies during fiscal years 1998,1999, and 2000 for which claimant has not received reimbursement.
2. Respondent was responsible for the processing of the invoices submitted by claimant and the State agencies failed to reimburse claimant upon receipt of the invoices for telecommunication services.
3. As a result of the failure of respondent to pay for the services rendered to the various State agencies, claimant sustained a loss in the amount of $2,474,623.99.
4. Respondent agrees that the amount of damages as put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim and finds that respondent has a legal and moral obligation to compensate claimant in the amount of $2,474,623.99 for services rendered to the State of West Virginia; therefore, claimant may make a recovery in this claim.
Accordingly, the Court is of the opinion to and does make an award to claimant in the amount of $2,474,623.99. Further, the Court directs the Clerk of the Court to determine the individual agencies and the appropriate funding sources in the preparation of the 2002 Claims Bill.
Award of $2,474,623.99.
